Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page
                                                                       •   1 of 12




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Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page 2 of 12




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Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page 3 of 12




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Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page 4 of 12




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Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page 6 of 12




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Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page 8 of 12




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Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page 9 of 12




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Case 0:97-cr-06002-JEM Document 361 Entered on FLSD Docket 03/13/2019 Page 12 of 12




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